    Case 3:17-cv-00072-NKM-JCH Document 126-1 Filed 11/29/17 Page 1 of 7 Pageid#: 581


Christopher Greene

From:                 Mike Peinovich <mpeinovich@gmail.com>
Sent:                 Wednesday, November 29, 2017 12:28 PM
To:                   Christopher Greene
Subject:              Re: Sines v. Kessler, et al.


OK, so you're filing for a motion to block my ability to record? Ok, go ahead. Tell me how it turns out. I'll abide by the
court's decision.

On Wed, Nov 29, 2017 at 12:25 PM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

 Mr. Peinovich,



 The judge does not join a Rule 26(f) conference. In this circumstance, the only way to obtain the Court’s opinion on
 your position is to file a motion, which we will be doing momentarily.



 Regards,



 Christopher B. Greene

 Kaplan & Company, LLP

 (929) 294‐2528



 From: Mike Peinovich [mailto:mpeinovich@gmail.com]
 Sent: Wednesday, November 29, 2017 12:07 PM


 To: Christopher Greene <cgreene@kaplanandcompany.com>
 Subject: Re: Sines v. Kessler, et al.



 Here's what I'll do, we start the call and I won't be recording. your guy can ask the judge, or I can do it, if he will allow
 me to record. If he says it's OK, then I'll turn on the recording. It's not that I want to give you a hard time, but I
 genuinely believe that the plaintiff here does not have the legal or moral right to tell me as a defendant not to keep
 records relevant to my own defense.



 On Wed, Nov 29, 2017 at 11:41 AM, Mike Peinovich <mpeinovich@gmail.com> wrote:
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I would like to record the call because I feel this is necessary for my defense and I feel that an attorney for the plaintiff
refusing to allow me to record is an attempt on his part to harm my defense. Raise the issue with the judge and if he
says I may not record, then I will not. I have no intention of breaking the law, but I do not feel that the plaintiffs here
have the moral or legal right to prevent me from doing what I need to defend myself.




On Wed, Nov 29, 2017 at 9:43 AM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

 Mr. Peinovich,



 One of Plaintiff’s counsel participating in today’s Rule 26(f) conference will be calling from the State of Connecticut,
 which I understand to be a state in which both parties to a conversation must consent to any recording. See Conn.
 Gen. Stat. Ann. § 53a‐187 (West). I can advise you that the Connecticut counsel will not consent to any recording of
 today’s call. Please let us know if you nonetheless intend to record the call, or if instead you would prefer to proceed
 by email. If you insist upon participating by phone, and recording the conversation, we intend to raise the issue with
 the Court this morning.



 Regards,




 Christopher B. Greene

 Kaplan & Company, LLP

 (929) 294‐2528



 From: Mike Peinovich [mailto:mpeinovich@gmail.com]
 Sent: Tuesday, November 28, 2017 11:32 PM


 To: Christopher Greene <cgreene@kaplanandcompany.com>
 Cc: Julie Fink <jfink@kaplanandcompany.com>; Philip Bowman <pbowman@bsfllp.com>
 Subject: Re: Sines v. Kessler, et al.



 I've thought about it and I don't consent to doing the conference by email. It seems like it would just be cumbersome
 and unnecessary. I wish to do it by phone, and I wish to record it for my own records or whatever use I may see fit. If
 the judge tells me that recording is against the rules, then I won't.



 On Tue, Nov 28, 2017 at 10:55 PM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

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Mr. Peinovich,



Plaintiffs would send to you tomorrow afternoon our proposal for discovery, and you would be able to respond to
our proposal by email. Please let us know if you agree to conduct the conference by email.



Regards,



Christopher B. Greene

Kaplan & Company, LLP

(929) 294‐2528



From: Mike Peinovich [mailto:mpeinovich@gmail.com]
Sent: Tuesday, November 28, 2017 10:18 PM
To: Christopher Greene <cgreene@kaplanandcompany.com>
Cc: Julie Fink <jfink@kaplanandcompany.com>; Philip Bowman <pbowman@bsfllp.com>


Subject: Re: Sines v. Kessler, et al.



Why object to me recording the conference at all? If we do it by email I will retain a record of the conference
anyway, so if their purpose is to harm my ability to defend myself, which I don't see any other reason for their
insistence here, then the email conference defeats the purpose anyway. How would this even work?




On Tue, Nov 28, 2017 at 10:13 PM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

 Mr. Peinovich,



 I am writing to make clear that Plaintiffs object to your recording of the conference tomorrow, but are willing to
 conduct the conference by email. Let us know if you agree to conducting the conference by email.



 Regards,



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Christopher B. Greene

Kaplan & Company, LLP

(929) 294‐2528



From: Mike Peinovich [mailto:mpeinovich@gmail.com]
Sent: Tuesday, November 28, 2017 10:01 PM


To: Christopher Greene <cgreene@kaplanandcompany.com>
Subject: Re: Sines v. Kessler, et al.



Again, I'm not sure that your clients have the right to deny me the right to participate without recording. It seems
like they are again trying to interfere with my rights and put me in a situation that hurts my own defense. I can't
see why it is that they would object to this simple request for any reason that isn't pure malice. I will participate
and record. If they object, then they can do the email thing or whatever. If the judge tells me not to record, then I
won't. But I do not believe it is up to your clients.



thanks, and have a nice night.



Mike



On Tue, Nov 28, 2017 at 9:48 PM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

 Mr. Peinovich,



 As I explained on the phone, we cannot provide legal advice to you in connection with this matter. Plaintiffs
 object to your recording of the Rule 26(f) conference. If you refuse to participate in the Rule 26(f) conference
 telephonically without recording it, we can conduct the conference by email tomorrow afternoon. If you wish to
 proceed telephonically, please confirm that you will not record the conversation.



 Regards,



 Christopher B. Greene

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 Kaplan & Company, LLP

 (929) 294‐2528



 From: Mike Peinovich [mailto:mpeinovich@gmail.com]
 Sent: Tuesday, November 28, 2017 8:17 PM
 To: Christopher Greene <cgreene@kaplanandcompany.com>
 Subject: Re: Sines v. Kessler, et al.



 I have done some research and it looks like the rules surrounding the recording of this type of hearing are
 ambiguous, but it is my belief as a pro‐se defendant I have the right to record hearings that are relevant to my
 case. I may need the recording for my records or to show to an attorney should I obtain one at a later date to
 represent me. I believe it is burdensome and oppressive to me to not allow me to record this hearing and I do not
 believe whether I can record it is up to your clients. I further believe that much like this entire case, your clients
 insistence that I not record this hearing is an attempt by them to oppress me and stifle my rights as a citizen, and
 that their request that I not record is malicious. So as of now I will attend the call and I will be recording the call. I
 will not record if and only if I am ordered not to by the judge.



 Thanks,



 Mike



 On Tue, Nov 28, 2017 at 6:21 PM, Mike Peinovich <mpeinovich@gmail.com> wrote:

  I understand that you are in dicey territory given that you are not my attorney and can't give me legal advice. But
  I am not going to promise to not record until I am sure that the law requires me not to.




  On Tue, Nov 28, 2017 at 6:18 PM, Mike Peinovich <mpeinovich@gmail.com> wrote:

   Is their consent required? I am a pro‐se defendant and may need the recording for my records.



   On Nov 28, 2017 6:17 PM, "Christopher Greene" <cgreene@kaplanandcompany.com> wrote:

    Mr. Peinovich,




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      As discussed on our call, attached is the order setting forth certain deadlines for the briefing on the motions to
      dismiss.



      During our call, you indicated that you would participate in tomorrow’s Rule 26(f) conference, which will be
      held at 2pm ET. At the end of our conversation, you said that you record all of your phone calls. Plaintiffs do
      not consent to you recording the parties’ Rule 26(f) conference. Please confirm that you will not record
      tomorrow’s call.



      Regards,



      Christopher B. Greene

      Kaplan & Company, LLP

      (929) 294‐2528



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